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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                      AUSTIN DIVISION                        °    31   PH   3:   36

BLUE SKY NETWORKS, LLC,                        §
             PLAINTIFF,                        §
                                               §
V.                                             §
                                               §    CAUSE NO. 1:1 7-CV-452-LY
LENOVO (UNITED STATES) INC.,                   §
LENOVO HOLDING COMPANY, INC.,                  §
AND MOTOROLA MOBILITY LLC,                     §
             DEFENDANTS.                       §


                                         FINAL JUDGMENT

        Before the court in the above styled and numbered cause is parties' Joint Motion to

Dismiss all Claims (Dkt. No. 30), filed October 27, 2017. The court granted the motion and

resolved all live claims. Accordingly, the court renders the following Final Judgment pursuant to

Federal Rule of Civil Procedure 58.

       IT IS FURTHER ORDERED that each party shall bear its own costs.

       IT IS FINALLY ORDERED that the case is CLOSED.

               SIGNED this                day of October, 2017.



                                            LE'fr'
                                            UNI ED STATE DISTRICT JUDGE
